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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

In re: REYNOLDS, JASON ERNEST,                               Case No. 6:17-bk-07392-CCJ
                                                             Chapter 13
      Debtor.
___________________________________________/

                NOTICE OF APPEARANCE AND REQUEST FOR SERVICE

       COMES NOW, Patti W. Halloran, Esquire, of Gibbons │ Neuman, counsel for Gary S.

Martinet, IRA, creditor and party in interest, and hereby enters her appearance in the above-

styled cause.   Pursuant to Rule 2002 of the Federal Rules of Bankruptcy Procedure, the

undersigned hereby requests that all notices given or required to be given in this case and all

papers required to be served in this case, be given and served upon the undersigned attorney.

                                     GIBBONS │ NEUMAN


                                     /s/ Patti W. Halloran________________________
                                     PATTI W. HALLORAN, ESQUIRE
                                     Florida Bar No. 251135
                                     3321 Henderson Boulevard
                                     Tampa, Florida 33609
                                     (813) 877-9222
                                     (813) 877-9290 facsimile
                                     phalloran@gibblaw.com


                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that the foregoing Notice of Appearance and Request for Service
was filed electronically with U.S. Bankruptcy court on December 14, 2017; and that copies have
been provided by CM/ECF to registered users participating in this case; and provided by first
class U.S. Mail, postage prepaid, to: Jason Ernest Reynolds, PO Box 740506, Orange City, FL
32774; and Laurie K. Weatherford, Trustee, PO Box 3450, Winter Park, FL 32790, on December
14, 2017.

                                     /s/ Patti W. Halloran
